Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 1 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 2 of 21
                      Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 3 of 21




/s/ Robert S. Brady
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 4 of 21
                   Case 11-11795-KG              Doc 1       Filed 06/13/11         Page 5 of 21




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE



In re:                                                        Chapter 11

PERKINS & MARIE CALLENDER’S INC.,1                            Case No. 11-______________ (___)
et al.,
                                                              Joint Administration Pending
                            Debtors.



                           EXHIBIT “A” TO VOLUNTARY PETITION OF
                             PERKINS & MARIE CALLENDER’S INC.2

                1.      Perkins & Marie Callender’s Inc. has no securities registered under
Section 12 of the Securities and Exchange Act of 1934. Prior to the filing of the petition, it
voluntarily filed reports with the Securities and Exchange Commission under SEC file number
333-131004, the filing number of its latest filed registration statement filed under the Securities
Act of 1933, as amended.

               2.       The following financial data (which is consolidated among all the
Debtors) is the latest available unaudited information on the Debtors’ condition as of October 3,
2010.3
                                                                               (In thousands)

         a.          Total assets                                                                   $289,998

         b.          Total debts (including debts listed in 2.c., below)                            $440,824

         c.          None of the Debtors’ debt obligations are held by more than 500 record holders.

     d.        As of June 1, 2011, Perkins & Marie Callender’s Inc. has 10,820 shares of
common stock issued and outstanding.
1
         The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are:
Perkins & Marie Callender’s Inc. (4388); Perkins & Marie Callender’s Holding Inc. (3999); Perkins & Marie
Callender’s Realty LLC (N/A); Perkins Finance Corp. (0081); Wilshire Restaurant Group LLC (0938); PMCI
Promotions LLC (7308); Marie Callender Pie Shops, Inc. (7414); Marie Callender Wholesalers, Inc. (1978);
MACAL Investors, Inc. (4225); MCID, Inc. (2015); Wilshire Beverage, Inc. (5887); and FIV Corp. (3448). The
mailing address for the Debtors is 6075 Poplar Avenue, Suite 800, Memphis, TN 38119.
2
  The following financial data shall not constitute an admission of liability by the Debtors. The Debtors reserve all
rights to assert that any debt or claim listed herein as liquidated or fixed is, in fact, a disputed claim or debt. The
Debtors also reserve all rights to challenge the priority, nature, amount or status of any claim or debt.
3
 Information contained herein is as reported on Perkin & Marie Callender’s Inc.’s 10-Q filed on November 17,
2010.
                     Case 11-11795-KG           Doc 1   Filed 06/13/11     Page 6 of 21




               3.    The following persons directly or indirectly own, control, or hold, with
power to vote, 5% or more of the voting securities of Perkins & Marie Callender’s Inc.:

                                         Perkin & Marie Callender’s Inc.
                                                5% Shareholders

                   Shareholder Namei                                       Number of Shares
     Castle Harlan Partners III, L.P.
     Castle Harlan Partners IV, L.P.
        P&MC’s Holding LLC
          P&MC’s Holding Corp.
            Perkins & Marie Callender’s Holding, Inc.                           10,820

i
    Subsidiaries of subsidiaries are indented




                                                        2
                  Case 11-11795-KG             Doc 1       Filed 06/13/11        Page 7 of 21




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



In re:                                                      Chapter 11

PERKINS & MARIE CALLENDER’S INC.,1                          Case No. 11-______________ (___)
et al.,
                                                            Joint Administration Pending
                           Debtors.



                         CONSOLIDATED LIST OF CREDITORS
                   HOLDING FORTY (40) LARGEST UNSECURED CLAIMS

                 Perkins & Marie Callender’s Inc., a Delaware corporation, and certain of its direct
and indirect affiliates and subsidiaries, the debtors and debtors in possession in the above
captioned cases (collectively, the “Debtors”), have filed with the Clerk of this Court voluntary
petitions for relief under chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et
seq. This list of creditors holding the forty (40) largest unsecured claims (the “40 Largest List”)
has been prepared on a consolidated basis, from the Debtors’ books and records as of June 10,
2011. The 40 Largest List was prepared in accordance with Rule 1007(d) of the Federal Rules of
Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases. The 40 Largest List does not
include: (1) persons who come within the definition of an “insider” set forth in 11 U.S.C. §
101(31); or (2) secured creditors. The information presented in the 40 Largest List shall not
constitute an admission by, nor is it binding on, the Debtors. The information presented herein
does not constitute a waiver of the Debtors’ rights to contest the validity, priority, nature,
characterization and/or amount of any claim.




1
         The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are:
Perkins & Marie Callender’s Inc. (4388); Perkins & Marie Callender’s Holding Inc. (3999); Perkins & Marie
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Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 8 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 9 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 10 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 11 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 12 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 13 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 14 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 15 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 16 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 17 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 18 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 19 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 20 of 21
Case 11-11795-KG   Doc 1   Filed 06/13/11   Page 21 of 21
